           Case 3:17-cv-06002-RBL-DWC Document 67 Filed 07/09/18 Page 1 of 3



 1                                                             JUDGE RONALD B. LEIGHTON
                                                      MAGISTRATE JUDGE DAVID W. CHRISTEL
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 6                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                       AT TACOMA

 8
       DONALD BANGO and SCOTT BAILEY,                       No. 3:17-cv-06002-RBL-DWC
 9     individually and on behalf of all others similarly
       situated,
10                                                          NOTICE OF APPEARANCE
                       Plaintiff,
11
                v.
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13     PIERCE COUNTY, WASHINGTON, PIERCE
       COUNTY SHERIFF’S DEPARTMENT,
14
                      Defendants.
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            PLEASE TAKE NOTICE of the appearance in this litigation of the undersigned counsel,
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     Eunice Hyunhye Cho, on behalf of Plaintiffs Donald Bango and Scott Bailey. Copies of all
17
     documents and pleadings with regard to this litigation are to be served on the undersigned
18
     counsel.
19
                 DATED this 9th day of July, 2018.
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                                                            Respectfully submitted,
21
                                                            By: /s/ Eunice Hyunhye Cho
22
                                                            Eunice Hyunhye Cho, WSBA #53711
                                                            echo@aclu-wa.org
23
                                                            Antoinette M. Davis, WSBA #29821
     Notice of Appearance - 1                                         AMERICAN CIVIL LIBERTIES UNION OF
     3:17-cv-06002-RBL-DWC                                                    WASHINGTON FOUNDATION
                                                                                901 FIFTH AVENUE #630
                                                                                    SEATTLE, WA 98164
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          Case 3:17-cv-06002-RBL-DWC Document 67 Filed 07/09/18 Page 2 of 3



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                                             Attorneys for Plaintiffs.
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     Notice of Appearance - 2                           AMERICAN CIVIL LIBERTIES UNION OF
     3:17-cv-06002-RBL-DWC                                      WASHINGTON FOUNDATION
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           Case 3:17-cv-06002-RBL-DWC Document 67 Filed 07/09/18 Page 3 of 3



 1
                                     CERTIFICATE OF SERVICE
 2
            I hereby certify that on July 9th, 2018, I electronically filed the foregoing with the Clerk
 3
     of the Court using the CM/ECF system, which will send notification of such filing to the
 4
     following:
 5
     Michelle Luna-Green, WSBA No. 27088
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     Email: mluna@co.pierce.wa.us
     Frank Cornelius, WSBA No. 29590
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     Email: fcornel@co.pierce.wa.us
     Counsel for Defendants
 8
     DATED: July 9th, 2018, at Seattle, Washington
 9

10

11                                                                 /s/Kaya McRuer
                                                                   Kaya McRuer, Legal Assistant
12
                                                                   ACLU of Washington Foundation
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     CERTIFICATE OF SERVICE                                           AMERICAN CIVIL LIBERTIES UNION OF
     3:17-cv-06002-RBL-DWC                                                    WASHINGTON FOUNDATION
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